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                      IN THE UNITED STATES DISTRICT COURT FOR
                          THE EASTERN DISTRICT OF VIRGINIA

                                      Alexandria Division

 UNITED STATES OF AMERICA

                 v.                                   No. 1:20-cr-239-TSE

 EL SHAFEE ELSHEIKH,                                  Hon. T. S. Ellis, III
                 Defendant.


                                            ORDER

         Based on the parties’ representations, and for good cause shown, the Court ORDERS that

the parties be available for a telephonic status conference at 3:30 p.m. on Thursday, January 6,

2022. Additionally, the parties represent that a phone line will be provided for Defendant at the

Alexandria Detention Center to allow Defendant to attend the teleconference. Although

Defendant’s counsel cannot now obtain a signed waiver of Defendant’s in-person attendance due

to a COVID-19 outbreak and resulting lockdown at the Alexandria Detention Center, counsel are

DIRECTED to provide a signed waiver to the Court as soon as is practicable. In the meantime,

the telephonic hearing will proceed as scheduled with Defendant and counsel for the parties on the

line.


 Date:      January 5, 2022
          Alexandria, Virginia
